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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEW JERSEY

 Zurich American Insurance Company                  ¦    Civil Action No.:
                                                    ¦
                       Plaintiff,                   ¦    1:22-cv-01535-CPO-MJS
                                                    ¦
 vs.                                                ¦    [PROPOSED] ORDER ON JOINT
                                                    ¦    MOTION TO EXTEND CASE
 Asphalt Paving Systems, Inc.                       ¦
                                                         MANAGEMENT DEADLINES
                                                    ¦
                       Defendant.                   ¦
                                                    ¦

        This matter coming to be heard on the Joint Motion to Extend Case Management Deadlines

 submitted by Plaintiff Zurich American Insurance Company (“Zurich”) and Defendant Asphalt

 Paving Systems, Inc. (“Asphalt”), good cause having been shown, the Court extends the remaining

 case management deadlines in the Scheduling Order (ECF Nos. 52) as follows:

                                          Current Deadline        Extended Deadline

         Pretrial factual discovery       April 19, 2024          June 18, 2024

         Plaintiff’s expert disclosures   May 6, 2024             July 8, 2024

         Defendant’s expert disclosures June 3, 2024              August 2, 2024

         Expert depositions               July 8, 2024            September 6, 2024

         Dispositive motions              August 3, 2024          October 4, 2024



        All other terms of the Scheduling Order remain in full force and effect.



                                              ENTERED BY: ________________________

                                              DATED:
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 JOINTLY SUBMITTED BY:

  PLAINTIFF                                     DEFENDANT

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